                     UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA


[1] BLACK EMERGENCY RESPONSE TEAM, et al. )
                                               )
                  Plaintiffs,                  )
v.                                             )
                                               )               Case No. CIV-21-1022-G
[1] JOHN O’CONNOR, in his official capacity as )
Oklahoma Attorney General, et al.              )
                                               )
                  Defendants.                  )



 OU BOARD DEFENDANTS, MICHAEL CAWLEY, FRANK KEATING, PHIL
ALBERT, NATALIE SHIRLEY, ERIC STEVENSON, ANITA HOLLOWAY AND
     RICK NAGEL’S, MOTION TO STRIKE AFFIDAVITS OF BLACK
EMERGENCY RESPONSE TEAM, UNIVERSITY OF OKLAHOMA CHAPTER
   OF AMERICAN ASSOCIATION OF UNIVERSITY PROFESSORS, AND
           MARVIN LYNN, PH.D. AND BRIEF IN SUPPORT
       COME NOW Defendants Michael Cawley, Frank Keating, Phil Albert, Natalie

Shirley, Eric Stevenson, Anita Holloway and Rick Nagel (OU Board), in their official

capacities, and respectfully request this Honorable Court strike the affidavits of the Black

Emergency Response Team (“BERT”) and the University of Oklahoma Chapter of

American Association of University Professors (“OU-AAUP”), and portions of the

affidavit of Marvin Lynn in support of Plaintiffs’ Motion for a Preliminary Injunction. In

support of their Motion, Defendants state as follows:

                                ARGUMENT AND ANALYSIS

       I. The Court should strike the BERT and OU-AAUP affidavits because they

         are speculative and not based on personal knowledge.
       The BERT and OU-AAUP affidavits [Docs. 27-3, 27-4] fail to provide evidence to

support Plaintiffs’ allegations that the Act is a viewpoint discriminatory and overbroad

infringement on academic freedom or restricts students’ access to information, or that

absent an injunction, Plaintiffs will suffer irreparable injury. Instead, each affidavit is a

composite of speculations and conjectures.

       The BERT affidavit [Doc. 27-3] purports to be a factual accounting based on the

personal knowledge of affiant Lilly Amechi but is rife with projections and hearsay.

Amechi states that H.B. 1775 “gives students more leeway to commit racist acts against

other students with impunity” without any concrete examples that she has observed to back

up this assertion. BERT Decl. ¶ 11. Amechi claims that “the students most in need of

exposure to [the information offered in a DEI course] are the least likely to access it” and

that “H.B. 1775 enables students to grow more comfortable in beliefs that threaten [her]

life and the lives of [BERT] members.” BERT Decl. ¶ 12. Amechi makes a similar claim

about sexual harassment training, now voluntary following the passing of H.B. 1775. See

BERT Decl. ¶ 13. Amechi goes on to say that “[t]he Gender and Equality Center has

already seen an increase in sexual assaults reported as compared to the same time frame in

years prior”. Id. Amechi does not attest that she is affiliated with the Gender and Equality

Center. She describes as the “negative effects of no longer requiring sexual harassment

training” as hearing “directly from freshman women about the inappropriate way male

students will often speak to and approach them.” BERT Decl. ¶ 14. Amechi details BERT

members refraining from talking to new people and walking around “ready to defend


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themselves at any moment.” BERT Decl. ¶ 15. There are no instances of attempted attacks

described in the declaration.

       Amechi describes concerns about the value of certain areas of study because

professors might leave or be prevented from coming to the University because of the effects

of H.B. 1775, or because professors might not teach Critical Race Theory. See BERT Decl.

¶¶ 16-17. These declarations make such definitive statements as “[Jamelia Reed] is being

denied the education for which she signed up” with little more than doomsday projections

to support them. Id. These projections and conclusions are mere beliefs. They are not facts

or evidence to which Amechi can attest with personal knowledge.

       In the same fashion, the OU-AAUP affidavit [Doc. 27-4] does not set out actual

facts to which its affiant can attest with personal knowledge. Affiant Michael Givel details

professors expressing concern about not receiving funding for research and draws the

conclusion that it “chills professors from applying for grants related to race and racism.”

OU-AAUP Decl. ¶ 8. Givel also details the fear of a department chair that scheduling

courses in Black literature could result in discipline or termination for non-tenured

professors. OU-AAUP Decl. ¶ 9. Givel similarly describes librarians’ uncertainty about

selecting materials without facing disciplinary action. See OU-AAUP Decl. ¶ 10 Changing

curricula because of fear of losing jobs or bullying is a central theme in OU-AAUP

declarations 12-15. See OU-AAUP Decl. ¶¶ 12-15. None of these declarations offers

evidence that anyone has been disciplined or terminated for offering courses and materials

or teaching subjects on race, gender, or sexual orientation. Most of the statements amount


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to fears, concerns, and beliefs. The only outlier, OU-AAUP Decl. ¶ 12, describes an

instruction not to test on Critical Race Theory, and that instruction is not to Givel. Givel

does not identify who made the comment or to whom the comment was made. There is no

attestation as to how Givel came to perceive that instruction, therefore the only reasonable

conclusion is that it is hearsay.

       An affidavit used to support a motion “must be made on personal knowledge, set

out facts that would be admissible in evidence, and show that the affiant or declarant is

competent to testify on the matters stated.” Fed. R. Civ. P. 56(c)(4). An affidavit is

inadmissible under the personal knowledge standard if the witness “could not have actually

perceived or observed that which he testifies to.” Argo v. Blue Cross & Blue Shield of Kan.,

Inc., 452 F. 3d. 1193, 1200 (10th Cir. 2006). “’[S]tatements of mere belief’ in an affidavit

must be disregarded.” Id. at 1200 (quoting Tavery v. United States, 32 F.3d 1423, 1427 n.

4 (10th Cir.1994)). Additionally, if the content of the statement contains inadmissible

hearsay, courts should disregard those statements. See Argo, 453 F. 3d. at 1199.

       Every statement in the BERT and OU-AAUP affidavits relied upon by the Plaintiffs

in their Preliminary Injunction Motion is either a belief or inadmissible hearsay. Amechi,

the affiant for BERT, has stated no facts that show that she is in a position or occupation

that would allow her to have observed or perceived some of the events of which she

purports to have personal knowledge. See id. at 1200 (observing that the plaintiff was not

a human resources official, and therefore was not in a position to acquire comprehensive

knowledge about the performance and discipline of female coworkers of which he claimed


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to be personally familiar). Her position in BERT does not give her direct access to the

reports of the Gender and Equality Center or the ability to analyze its data. Givel, the affiant

for OU-AAUP, is a coworker to the other members of OU-AAUP. Just like the plaintiff in

Argo, Givel is not in a position to acquire personal knowledge of what instructions or

discipline his coworkers receive. Finally, the bulk of the remaining statements on the

effects of H.B. 1775 in these affidavits are essentially beliefs about things that have not

happened.

       II. The Court should strike portions of the Lynn affidavit because it is not

            admissible under the Daubert standard.

       The Lynn affidavit [Doc. 27-10] cites a number of journal articles, studies, and the

sworn declarations of the other affiants in order to offer expert testimony on the effects of

H.B. 1775. To the extent Plaintiffs offer this affidavit as expert testimony for their

allegations, this Court must strike the portions that do not meet the Daubert standard.

       Lynn’s own body of research centers on “how teachers draw on students’ cultural

resources to promote academic success for students of color” and his experience includes

a near-thirty-year teaching career in elementary school and in higher education. Lynn Decl.

¶¶ 1, 3. The research upon which Lynn relies in part to form his expert opinion has to do

with the impact that “culturally relevant,” “culturally responsive,” and “culturally

sustaining” teaching have on the academic success of students with diverse identities. See

Lynn Decl. ¶¶ 6-12. Lynn reaches the conclusion that “efforts to curtail teachers’ ability to




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use these practices will likely negatively impact the overall success of students of color.”

Lynn Decl. ¶ 16 (emphasis added).

       Lynn examines research 1 done on workplace sexual harassment training, connects

this research to sexual harassment on college campuses, and then draws on his own

observations from his time as a university administrator to make the inference that

“increased understanding about what constitutes sexual harassment and discrimination

would lead students on college campuses to reflect more deeply about their behavior and

how it contributes to the overall creation of environments that are safe for women and

girls.” Lynn Decl. ¶ 33. Lynn’s attestation of his expertise and experience does not lend

itself to an expert level of authority on this area of analysis.

       Even if it did, such analysis regarding sexual harassment training in Lynn Decl. ¶

33, and diversity courses in Lynn Decl. ¶¶ 34-35 only points to the positive outcomes of

offering such curriculum. What this analysis does not logically or scientifically point to is

the conclusion reached in Lynn Decl. ¶ 37, namely that making the DEI course and sexual

harassment training voluntary will make the campus “less safe, welcoming, and engaging

for all students but especially marginalized students.”



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  The research cited does not, in fact, mention sexual harassment on college campuses. See
Heather Antecol & Deborah Cobb-Clark, Does Sexual Harassment Training Change
Attitudes? A View from the Federal Level, 84 SOC. SCI. Q., Dec. 2003, at 826. The only
mention about training made in Lynn’s other source within this declaration is that more
training is needed, not that it leads “individuals to be more reflective about the types of
workplace behaviors that can be construed as discriminatory or harassing” (Lynn Decl. ¶
33). See Bernice Resnick Sandler, Title XI: How We Got It and What a Difference It Made,
55 CLEV. ST. L. REV. 473 (2007).
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       An expert’s testimony must be based on knowledge that implies a grounding in the

methods and procedures of science and not subjective belief or unsupported speculation.

Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 590, 113 S. Ct. 2786, 2795, (1993)

Any inference or assertion must be supported by appropriate validation. See id. “It is

axiomatic that an expert, no matter how good his credentials, is not permitted to speculate.”

Goebel v. Denver & Rio Grande W. R.R. Co., 215 F.3d 1083, 1088 (10th Cir. 2000). The

Lynn affidavit lists a number of credentials, but ultimately it relies upon speculation in

order to project the irreparable injury of H.B. 1775. The Court should strike the Lynn

affidavit to the extent it relies on such unsupported speculation.

       Furthermore, the connection between Lynn’s credentials and some of the

conclusions drawn in his affidavit is tenuous at best. His lengthy career in higher education

does not automatically render his opinion on all matters in higher education admissible.

See, e.g., Ho v. Michelin N. Am., Inc., 520 F. App’x 658, 665 (10th Cir. 2013)(“Experience

is not necessarily a password to admissibility[.]”) In his extensive list of experiences and

published works, mentions of comprehensive work or study in sexual harassment or

LGBTQ+ inclusivity are sparse. Therefore, the Court should strike the Lynn affidavit to

the extent it refers to sexual harassment training or LGBTQ+ issues.

                                         CONCLUSION

       Based on the foregoing, this Court should strike these Affidavits. The BERT and

OU-AAUP affidavits do not contain facts based on personal knowledge. Instead, they

express mere beliefs and inadmissible hearsay. The Lynn affidavit contains unsupported

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speculation that is not admissible expert testimony, and the Court should strike any such

portions. As such, the Court should strike the Affidavits as set forth above.

                                          Respectfully submitted,


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                             CERTIFICATE OF SERVICE
       I hereby certify that on the 16th day of December 2021, I transmitted the attached
document to the Clerk of Court using the ECF system for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the
following ECF registrants:

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